         Case No. 1:23-cv-01855-STV Document 6 filed 07/21/23 USDC Colorado pg 1 of 1

AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Colorado
                                                         District of __________


         Shenzhen Keenray Innovations Limited                  )
                             Plaintiff                         )
                                v.                             )      Case No.     23-cv-01855-STV
                      Global Proton LLC                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Shenzhen Keenray Innovations Limited                                                                         .


Date:          07/21/2023                                                                   /s/ TAO LIU
                                                                                         Attorney’s signature


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